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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DARRELL N. MCKELVIE,                                      :
                                                          :
                Petitioner,                               :               Civil Action
                                                          :
        v.                                                :               NO. 00-3409
                                                          :
SUPERINTENDENT MARY LEFTRIDGE-                            :
  BYRD, et al.                                            :
                                                          :
                                 Respondents.             :


                   RESPONSE TO PETITIONER’S RULE 60(B) MOTION

        Petitioner Darrell N. McKelvie is a Pennsylvania state prisoner who was convicted of first-

degree murder in 1975 and is currently serving a mandatory sentence of life imprisonment. The

District Court denied Mr. McKelvie’s original petition for a writ of habeas corpus on the merits in

1985. McKelvie v. Freeman, et al., No. 85-2083, Order (Oct. 29, 1985). Mr. McKelvie then filed a

second habeas petition in 2000, which the District Court dismissed as successive in 2001. Docs. 1,

15. In February 2019, Mr. McKelvie filed a motion under Federal Rule of Civil Procedure Rule

60(b), seeking relief from the Court’s 2001 judgment dismissing his successive petition. Doc. 20. For

the reasons discussed below, no relief is due.

                                               Discussion

        Federal Rule of Civil Procedure 60(b) provides litigants with a mechanism by which they

may obtain relief from a final judgment “under a limited set of circumstances including fraud,

mistake, and newly discovered evidence.” Gonzalez v. Crosby, 545 U.S. 524, 528 (2005). Mr. McKelvie

has specifically invoked Rule 60(b)(6), which permits relief from judgment for “any other reason that

justifies relief.” Fed. R. Civ. P. 60(b)(6). While seemingly broad, this catch-all provision is actually

quite limited. Relief is appropriate only in “extraordinary circumstances.” Gonzalez, 545 U.S. at 535.

In habeas proceedings, those circumstances “rarely” arise. Id.

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        A.      McQuiggin, Satterfield and Haskell Do Not Constitute Extraordinary
                Circumstances Justifying Rule 60(b) Relief.

        Mr. McKelvie’s primary argument appears to be that the Supreme Court’s decision in

McQuiggin v. Perkins, 569 U.S. 383 (2013), as well as the Third Circuit’s decisions in Satterfield v. Dist.

Att’y Phila., 872 F.3d 152 (3d Cir. 2017) and Haskell v. Superintendent Greene SCI, 866 F.3d 139 (3d Cir.

2017), constitute extraordinary circumstances justifying relief from the Court’s 2001 judgment. See

Doc. 20 at 4-5, 7. His argument is unavailing. “Intervening developments in the law by themselves

rarely constitute the extraordinary circumstances required for relief under Rule 60(b)(6).” Agostini v.

Felton, 521 U.S. 203, 239 (1997). “[A] change in the law doesn’t even begin to support a Rule 60(b)

motion unless the change in law is actually relevant to the movant’s position.” Norris v. Brooks, 794

F.3d 401, 405 (3d Cir. 2015).

        McQuiggin has no relevance to this case. In McQuiggin, the Supreme Court held that actual

innocence, if proved, serves as a gateway through which a habeas petitioner can pass to overcome

the one-year statute of limitations on federal habeas petitions filed by state prisoners. 569 U.S. at

386. Here, Mr. McKelvie’s original 1985 habeas petition was dismissed on the merits. The dismissal

of his 2000 habeas petition—the judgment from which he seeks relief—was based on the fact that it

was a second habeas petition filed without authorization from the Third Circuit. See Docs. 8, 15; see

also 28 U.S.C. 2244(b)(3)(A) (requiring authorization from the court of appeals before the district

court can consider a successive petition). 1 Because the district court dismissed Mr. McKelvie’s

petition as successive, McQuiggin, which implicates habeas claims dismissed on timeliness grounds,

has no application to this case.



1
  Authorization by the Court of Appeals is jurisdictional; without it, “the district court may not
consider [a] second or successive petition.” Robinson v. Johnson, 313 F.3d 128, 139 (3d Cir. 2002); see
also Burton v. Stewart, 549 U.S. 147, 152 (2007) (holding that because petitioner did not seek
authorization to file a second or successive petition in the district court, the district court “never had
jurisdiction to consider it in the first place”).
                                                      2
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        Satterfield likewise has no relevance here. In Satterfield, the Third Circuit reaffirmed that

pursuant to McQuiggin, there exists an actual-innocence exception to the habeas statute of limitations.

872 F.3d at 159. In addition, Satterfield reiterated the requirement that “[a] district court addressing a

Rule 60(b)(6) motion premised on a change in decisional law must examine the full panoply of

equitable circumstances in the particular case before rendering a decision.” 872 F.3d at 155. It did

nothing to alter the statutory requirement that a petitioner seeking to file a second habeas petition

must first obtain authorization from the Third Circuit. Satterfield thus provides no support for relief

under Rule 60(b)(6) here.

        Haskell too provides no support for relief under Rule 60(b)(6). In Haskell, the Third Circuit

“h[e]ld that the actual-prejudice standard of [Brecht v. Abrahamson, 507 U.S. 619, 619 (1993)] does not

apply to claims on habeas that the state has knowingly presented or knowingly failed to correct

perjured testimony.” 866 F.3d at 152. Hence, like McQuiggin and Satterfield, Haskell is irrelevant to the

judgment that Mr. McKelvie seeks relief from. 2 As noted, that judgment denied relief because

Petitioner had filed a second habeas petition without authorization from the Third Circuit. Indeed,

the Court had no jurisdiction to entertain any of the claims in the petition, much less consider

whether any errors were harmless under Brecht. See supra note 1. As such, Haskell has no relevance to

the Court’s judgment denying relief.




2
  Haskell has no relevance to the judgment denying Mr. McKelvie’s original petition either. That
petition did not involve a perjured testimony claim. See McKelvie v. Freeman, et al., No. 85-2083,
Petition; Order (Oct. 29, 1985).
                                                     3
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                                       CONCLUSION

       For these reasons, Respondents respectfully request that Mr. McKelvie’s Rule 60(b) motion

be denied.



                                        Respectfully submitted,


                                        /s/ Banafsheh Amirzadeh____________
                                        Banafsheh Amirzadeh
                                        Assistant District Attorney, Federal Litigation Unit




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                                CERTIFICATE OF SERVICE

        I, Banafsheh Amirzadeh, certify that November 27, 2019, a copy of this response was served
via the Court’s ECF system on counsel for Petitioner:

               Claudia Flores
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                                             /s/ Banafsheh Amirzadeh_____________
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